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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Daniel Dinsmore and Lucille Dinsmore, )
        Plaintiffs,                   )
                                      )
        v.                            )          No. 10 C 8227
                                      )
Allied Interstate, Inc., a Minnesota  )          Judge Kocoras
corporation,                          )
        Defendant.                    )

                                 NOTICE OF VOLUNTARY
                               DISMISSAL WITH PREJUDICE

       Plaintiffs, pursuant to F.R.C.P. Rule 41, hereby stipulate to the dismissal of their

claims against the Defendant with prejudice.

Dated: February 1, 2011

One of Plaintiff's Attorneys

/s/ David J. Philipps_______
David J. Philipps      (Ill. Bar No. 06196285)
Mary E. Philipps       (Ill. Bar No. 06197113)
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                              CERTIFICATE OF SERVICE

       I hereby certify that on February 1, 2011, a copy of the foregoing Notice of
Voluntary Dismissal with Prejudice was filed electronically. Notice of this filing will be
sent to the following party via U.S. Mail, first class postage pre-paid, on February 1,
2011.

Allied Interstate, Inc.
c/o Matthew Johnson,
   Vice President, Legal
iQor US, Inc.
335 Madison Avenue
27th Floor
New York, New York 10017

/s/ David J. Philipps__________

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